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                   IN THE UNITED STATES DISTRICT COURT

              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                  :

       v.                                 : CRIMINAL NO. 05-530-1

STANLEY SKEETERS                          :


                GOVERNMENT’S RESPONSE IN OPPOSITION TO
                DEFENDANT’S MOTION TO REDUCE SENTENCE
                   PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)


       Defendant Stanley Skeeters seeks compassionate release under 18 U.S.C.

§ 3582(c)(1)(A)(i). This motion should be denied, because compassionate release is not

available on the grounds he presents.

I.     Background.

       A.     Criminal Conduct.

       On September 14, 2005, a grand jury in the Eastern District of Pennsylvania

returned an indictment of Stanley Skeeters and his coconspirator, charging them with one

count of conspiracy to interfere with interstate commerce by robbery, in violation of 18

U.S.C. § 1951(a) (Count One); four counts of interference with interstate commerce by

robbery, and aiding and abetting, in violation of 18 U.S.C. §§ 1951 and 2 (Counts Two,

Four, Six, and Eight), and four counts of possession of a firearm in furtherance of a

violent offense, and aiding and abetting, in violation of 18 U.S.C. §§ 924(c) and 2

(Counts Three, Five, Seven, And Nine).
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       These charges arose out of Skeeters’ involvement in a crime spree which lasted for

just over two months, from October to December 2004, during which he and his

coconspirator committed four armed robberies of pizza shops and a grocery store in

Philadelphia. On each occasion, Skeeters and his girlfriend accosted store employees and

others at gunpoint, stealing cash and personal items. During each of the robberies

Skeeters wore either full Muslim female garb, or just the head covering, while his

girlfriend wore full Muslim female garb. The robberies netted amounts ranging from

$250 to $1,050. PSR ¶¶ 7-12.

       Skeeters was then 28 years old. This was not his first crime spree. At the age of

20, on September 25, 1996, he committed an aggravated assault. On that occasion, two

men were in a dispute, one left and then returned with Skeeters, who shot the other man.

Three weeks later, on October 15, 1996, Skeeters stole a bicycle from a 15-year-old boy

at gunpoint. Then the next day, he robbed a man on the El train at gunpoint of $24, a

beeper, and a gold chain. Skeeters was arrested that day, in possession of a 9-mm. semi-

automatic with seven rounds of ammunition. For all of those crimes, he was sentenced to

7½ to 15 years, and remained in state prison until May 19, 2004, just months before the

instant offenses began. PSR ¶¶ 54-60.

       In the present case, Skeeters proceeded to trial, and on March 27, 2006, following

a one-week trial, the jury found Skeeters guilty of all charges. On August 23, 2006, this

Court imposed a total term of imprisonment of 985 months (82 years and 1 month),

consisting of a mandatory term of 7 years on the first 924(c) charge; mandatory

consecutive terms of 25 years on each of the other three 924(c) charges; and one month

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on the remaining counts. The Court also imposed a term of supervised release of five

years, restitution of $1,615, and a special assessment of $900.

       The instant offenses represented a violation of parole for his earlier state offenses.

He thus first served the “back time” for those offenses, and remained in state custody

until 2012. He did not commence serving the federal sentence until June 2012. At

present, he is serving his sentence at USP Lewisburg, with an anticipated release date of

May 23, 2082. He has served 99 months thus far, and earned 14 months in good conduct

time, for time served of approximately 113 months of the 985-month term.

       B.     Request for Compassionate Release.

       Skeeters, after exhausting an administrative request for relief, filed a motion for

compassionate release in this Court on August 28, 2020, asserting five grounds: “(1) The

draconian practice of 924(c) stacking; (2) COVID-19 pandemic and epidemic;

(3) exceptional rehabilitation; (4) Congress enactment of § 403 under the First Step Act;

and (5) a valid home plan, job opportunity, and support from family.”

       In essence, this request rests on the change in law related to “stacking” of 924(c)

terms. The defendant, in effect, is seeking retroactive application of Section 403 of the

First Step Act of 2018, which reduced the penalty for multiple 924(c) violations

committed by an offender who had not previously incurred a 924(c) conviction. At the

time of his offenses, the statute required a mandatory consecutive 25-year sentence for a

second or successive 924(c) offense, even if all 924(c) charges were incurred in the same

case. See Deal v. United States, 508 U.S. 129 (1993). Skeeters was therefore sentenced to



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a seven-year mandatory term on the first of his 924(c) offenses (as the crime involved

“brandishing”), and a consecutive term of 25 years on each of the other three.

       In Section 403 of the First Step Act, effective December 18, 2018, Congress

amended Section 924(c) to provide that the 25-year consecutive term for a successive

924(c) offense does not apply unless the defendant had a previous, final conviction for a

924(c) charge at the time of the offense. Under current law, the defendant would

therefore face a consecutive seven-year sentence on each 924(c) charge. The statutory

requirement still applies that each such sentence must run consecutively to each other and

to any other sentence imposed. See First Step Act of 2018, Pub. L. 115-391, 132 Stat.

5222, § 403.

       The determination of the retroactivity of a statutory provision is made by

Congress. Dorsey v. United States, 567 U.S. 260, 274 (2012). With respect to the change

to Section 924(c) adopted in the First Step Act, Congress stated its intent explicitly,

providing in Section 403(b): “This section, and the amendments made by this section,

shall apply to any offense that was committed before the date of enactment of this Act, if

a sentence for the offense has not been imposed as of such date of enactment.” Given that

the defendant was sentenced before December 21, 2018, Section 403 does not apply in

this case, and the defendant’s sentence remains intact. The Third Circuit has so held.

United States v. Hodge, 948 F.3d 160 (3d Cir. 2020).

       The pandemic by itself does not present a basis for relief. United States v. Raia,

954 F.3d 594, 597 (3d Cir. 2020) (“the mere existence of COVID-19 in society and the

possibility that it may spread to a particular prison alone cannot independently justify

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compassionate release, especially considering BOP’s statutory role, and its extensive and

professional efforts to curtail the virus’s spread.”). Further, Skeeters is presently held at a

facility that has had modest success in mitigating the spread of the disease. At USP

Lewisburg, 85 inmates previously tested positive; all were isolated and recovered. There

are no inmates currently reported as positive. The institution houses 1,030 inmates, with

an additional 255 inmates in an attached camp.

       To be certain Skeeters is not at risk, we obtained his recent medical records from

BOP. They reveal that Skeeters, who is 44 years old, is in good health. He rarely avails

himself of health services, and takes no medication. Most recently, on October 10, 2019,

he requested a general physical. The examiner wrote: “He states he just wants to make

sure everything is going well and to have lab work ordered for ‘everything.’ Inmate has

no specific complaints or concerns at this time.” The only result of note was a

determination that his hemoglobin A1C is 6.3, which is prediabetic. He was accordingly

counseled on exercise and diet that will prevent the development of diabetes. 1




       1
          While diabetes is a CDC risk factor for a severe outcome from COVID-19,
prediabetes is not. See, e.g., United States v. Hooks, 2020 WL 4756341 (E.D. Pa. Aug.
17, 2020) (Pratter, J.) (42-year-old who presents mild asthma, sleep apnea, and
prediabetes does not present a risk factor and is not eligible for release); United States v.
Mathe, 2020 WL 3542177 (E.D. Pa. June 30, 2020) (Kearney, J.) (defendant is 48;
prediabetes with A1C of 5.7 is not a risk factor); United States v. Thomas, 2020 WL
4754191 (W.D. Pa. Aug. 17, 2020) (prediabetes is not a risk factor; lengthy discussion
and citation of numerous cases).
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II.    Discussion.

       The compassionate release statute, 18 U.S.C. § 3582(c)(1)(A), as amended by the

First Step Act on December 21, 2018, provides in pertinent part:

       (c) Modification of an Imposed Term of Imprisonment.—The court may not
       modify a term of imprisonment once it has been imposed except that—

       (1) in any case—

       (A) the court, upon motion of the Director of the Bureau of Prisons, or upon
       motion of the defendant after the defendant has fully exhausted all administrative
       rights to appeal a failure of the Bureau of Prisons to bring a motion on the
       defendant’s behalf or the lapse of 30 days from the receipt of such a request by the
       warden of the defendant’s facility, whichever is earlier, may reduce the term of
       imprisonment (and may impose a term of probation or supervised release with or
       without conditions that does not exceed the unserved portion of the original term
       of imprisonment), after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if it finds that—

       (i) extraordinary and compelling reasons warrant such a reduction . . .

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

Further, 28 U.S.C. § 994(t) provides: “The Commission, in promulgating general policy

statements regarding the sentencing modification provisions in section 3582(c)(1)(A) of

title 18, shall describe what should be considered extraordinary and compelling reasons

for sentence reduction, including the criteria to be applied and a list of specific examples.

Rehabilitation of the defendant alone shall not be considered an extraordinary and

compelling reason.” Accordingly, the relevant policy statement of the Commission is

binding on the Court. See Dillon v. United States, 560 U.S. 817, 827 (2010) (where 18

U.S.C. § 3582(c)(2) permits a sentencing reduction based on a retroactive guideline

amendment, “if such a reduction is consistent with applicable policy statements issued by

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the Sentencing Commission,” the Commission’s pertinent policy statements are binding

on the court). 2

       The Sentencing Guidelines policy statement appears at § 1B1.13, and provides

that the Court may grant release if “extraordinary and compelling circumstances” exist,

“after considering the factors set forth in 18 U.S.C. § 3553(a), to the extent that they are

applicable,” and the Court determines that “the defendant is not a danger to the safety of

any other person or to the community, as provided in 18 U.S.C. § 3142(g).”

       Critically, in application note 1 to the policy statement, the Commission identifies

the “extraordinary and compelling reasons” that may justify compassionate release. The

note provides as follows:

       1. Extraordinary and Compelling Reasons.—Provided the defendant meets the
       requirements of subdivision (2) [regarding absence of danger to the community],
       extraordinary and compelling reasons exist under any of the circumstances set
       forth below:

       (A)     Medical Condition of the Defendant.—

               (i)   The defendant is suffering from a terminal illness (i.e., a serious and
                     advanced illness with an end of life trajectory). A specific prognosis

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          Prior to the passage of the First Step Act, while the Commission policy
statement was binding on the Court’s consideration of a motion under § 3582(c)(1)(A),
such a motion could only be presented by BOP. The First Step Act added authority for an
inmate himself to file a motion seeking relief, after exhausting administrative remedies,
or after the passage of 30 days after presenting a request to the warden, whichever is
earlier.

       Under the law, the inmate does not have a right to a hearing. Rule 43(b)(4) of the
Federal Rules of Criminal Procedure states that a defendant need not be present where
“[t]he proceeding involves the correction or reduction of sentence under Rule 35 or 18
U.S.C. § 3582(c).” See Dillon, 560 U.S. at 827-28 (observing that, under Rule 43(b)(4), a
defendant need not be present at a proceeding under Section 3582(c)(2) regarding the
imposition of a sentencing modification).
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                    of life expectancy (i.e., a probability of death within a specific time
                    period) is not required. Examples include metastatic solid-tumor
                    cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease,
                    and advanced dementia.

             (ii)   The defendant is—

                    (I)     suffering from a serious physical or medical condition,

                    (II)    suffering from a serious functional or cognitive impairment,
                            or

                    (III)   experiencing deteriorating physical or mental health because
                            of the aging process,

                    that substantially diminishes the ability of the defendant to provide
                    self-care within the environment of a correctional facility and from
                    which he or she is not expected to recover.

      (B)    Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is
             experiencing a serious deterioration in physical or mental health because of
             the aging process; and (iii) has served at least 10 years or 75 percent of his
             or her term of imprisonment, whichever is less.

      (C)    Family Circumstances.—

             (i)    The death or incapacitation of the caregiver of the defendant’s minor
                    child or minor children.

             (ii)   The incapacitation of the defendant’s spouse or registered partner
                    when the defendant would be the only available caregiver for the
                    spouse or registered partner.

      (D)    Other Reasons.—As determined by the Director of the Bureau of Prisons,
             there exists in the defendant’s case an extraordinary and compelling reason
             other than, or in combination with, the reasons described in subdivisions
             (A) through (C).

      In general, the defendant has the burden to show circumstances meeting the test

for compassionate release. United States v. Heromin, 2019 WL 2411311, at *2 (M.D. Fla.

June 7, 2019); United States v. Stowe, 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25,

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2019). As the terminology in the statute makes clear, compassionate release is “rare” and

“extraordinary.” United States v. Willis, 2019 WL 2403192, at *3 (D.N.M. June 7, 2019)

(citations omitted).

       As stated above, Skeeters seeks relief only on the basis of the change in sentencing

law related to Section 924(c). This Court has held, in agreement with the government’s

view, that this change in sentencing law is not an “extraordinary and compelling reason”

allowing compassionate release, as such reasons are limited to the health, age, and family

circumstances described in the guideline policy statement. United States v. Brooks, 2020

WL 4347373, at *5 (E.D. Pa. July 29, 2020) (Bartle, J.) (compassionate release is not

available based on the change in law regarding stacked 924(c) sentences). As Skeeters

presents no other permissible basis for relief, his motion must be denied. See also 28

U.S.C. § 994(t) (compassionate release may not be based on rehabilitation alone).

       We recognize that Skeeters’ sentence is severe, and would not be imposed on a

like offender today. But it bears noting that even if he were eligible for relief, such relief

would be quite premature. Under current law, the mandatory sentences for his four

gunpoint robberies would total 28 years; he has only served about 9. 3 We are gratified to


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          To be sure, many district courts here and throughout the country are divided on
the question whether compassionate release is available to ameliorate stacked 924(c)
sentences. We will provide further briefing at the Court’s direction. Compare, e.g.,
United States v. Andrews, 2020 WL 4812626, at *7 (E.D. Pa. Aug. 19, 2020) (Robreno,
J.) (holding that a court has authority to define qualifying extraordinary circumstances,
but agreeing with this Court that a court may not consider the length of the sentence, as
that is based on legislative prerogative, particularly where, as here (in a case involving
stacked 924(c) terms), the sentence is based on mandatory minima); with United States v.
Clausen, 2020 WL 4260795, at *8 (E.D. Pa. July 24, 2020) (Pappert, J.) (the court will
reduce a 213-year stacked 924(c) sentence based on the change in law and the
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learn of his efforts toward rehabilitation, and to note that his disciplinary record is

impressive (with only two minor infractions, the most recent of which was in 2014). We

encourage him to continue on this course, so he is situated for relief should he be eligible

at a later time based on a further legislative action by Congress or an exercise of

executive clemency. But at this time, the motion for compassionate release should be

denied.

                                            Respectfully yours,

                                            WILLIAM M. McSWAIN
                                            United States Attorney


                                            /s Robert A. Zauzmer
                                            ROBERT A. ZAUZMER
                                            Assistant United States Attorney
                                            Chief of Appeals


                                            /s Salvatore L. Astolfi
                                            SALVATORE L. ASTOLFI
                                            Assistant United States Attorney
                                            Chief, Violent Crime




defendant’s “remarkable record of rehabilitation”); United States v. Pollard, 2020 WL
4674126 (E.D. Pa. Aug. 12, 2020) (Beetlestone, J.) (holding that compassionate release is
available to address stacked 924(c) terms; the sentence is reduced to the 168-month term
that would apply today for two 924(c) brandishing offenses). But even then, there is no
precedent for reduction of the sentence to a term as short as Skeeters has served. See, e.g.,
United States v. Chaplain, 2020 WL 5027484, at *3 (D. Neb. Aug. 24, 2020) (Camp, J.)
(opining that relief on stacked 924(c) terms is possible, but denying compassionate
release as the defendant has served only a small part of the sentence that would apply
today; “Accordingly, the Court will deny his Motion without prejudice to resubmission
no sooner than the year 2036.”).
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                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of this pleading has been served by first-class mail,

postage prepaid, upon:

                                  Mr. Stanley Skeeters
                                    No. 59590-066
                                   USP Lewisburg
                                    P.O. Box 1000
                                 Lewisburg, PA 17837



                                          /s Salvatore L. Astolfi
                                          SALVATORE L. ASTOLFI
                                          Assistant United States Attorney


Dated: September 3, 2020.
